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 5
 6    ATTORNEY FOR Defendant,
      TOMMIE THOMAS
 7
 8
 9                                 UNITED STATES DISTRICT COURT

10                                EASTERN DISTRICT OF CALIFORNIA

11                                              ******

12    UNITED STATES OF AMERICA,                         Case No.: 1:17-CR-00291 DAD-BAM
                                                                  1:17-CR-00295-1 DAD-BAM
13                   Plaintiff,                                   1:17-CR-00296-1 DAD-BAM
14
                                                        STIPULATION AND ORDER TO
15            v.                                        CONTINUE SENTENCING HEARING

16
                                                        Date: November 25, 2019
17    TOMMIE THOMAS,                                    Time: 10:00 a.m.
                                                        Courtroom: 5
18                   Defendant.                         Hon. Dale A. Drozd
19
20    TO:     THE HONORABLE COURT AND TO THE ASSISTANT UNITED STATES
              ATTORNEY:
21
22            IT IS HEREBY STIPULATED by and between the parties hereto through their respective
23    counsel that the sentencing hearing in the above captioned matter now set for Monday, November
24    25, 2019, at 10:00 a.m. be continued to Tuesday, February 18, 2020, at 10:00 a.m. The parties
25    also agree that the Status Conferences regarding Dismissal currently set for November 25, 2019,
26    in related cases United States v. Tommie Thomas, 1:17-cr-00291-DAD and United States v.
27    Tommie Thomas, et al, 1:17-cr-00295-1-DAD be continued to February 18, 2020, at 10:00 am as
28    well.
              The parties also agree to file any replies and/or sentencing memoranda no later than
      February 4, 2020.
                                                    1
     Case 1:17-cr-00296-DAD-BAM Document 179 Filed 11/20/19 Page 2 of 2

 1           This request is made by defense counsel who needs additional time to review the
 2    Government’s lengthy Response to Defendant’s Formal Objections (Docket # 177) and discuss
 3    it with the Defendant.
 4    IT IS SO STIPULATED.
 5                                              Respectfully submitted,
 6     DATED:      November 19, 2019      By: /s/ Angela L. Scott
 7                                            ANGELA L. SCOTT
                                              Assistant United States Attorney
 8
 9
10     DATED:      November 19, 2019      By: /s/ Anthony P. Capozzi
                                              ANTHONY P. CAPOZZI
11                                            Attorney for Defendant TOMMIE THOMAS
12
13
14                                               ORDER

15           Based upon the stipulation of the parties and good cause appearing therefor, it is hereby

16    ORDERED that the date of the sentencing hearing of the defendant in the above-entitled case is

17    continued from Monday, November 25, 2019, at 10:00 a.m. to Tuesday, February 18, 2020, at

18    10:00 a.m. and the Status Conferences regarding Dismissal currently set for November 25, 2019,

19    in related cases United States v. Tommie Thomas, 1:17-cr-00291-DAD and United States v.

20    Tommie Thomas, et al, 1:17-cr-00295-1-DAD are continued to February 18, 2020, at 10:00 am

21    as well. Any replies and/or sentencing memorandums are due no later than February 4, 2020.

22
      IT IS SO ORDERED.
23
         Dated:     November 19, 2019
24
                                                         UNITED STATES DISTRICT JUDGE
25
26
27
28




                                                     2
